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                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA



 MICHAEL BROWN,
                               Plaintiff,
                                                               DECLARATION IN SUPPORT
        v.
                                                                 Civil Action No. 3:15-cv-588
 SWAGWAY, LLC, and MODELL’S SPORTING
 GOODS, INC.,                                                             Class Action

                               Defendants.




        1.      I am an attorney at law, admitted pro hac vice to practice before this Court, and a

 Member of Haworth Coleman & Gerstman, LLC, counsel for defendant Modell’s Sporting

 Goods, Inc. (“Modell’s”). I am fully familiar with the matters set forth herein.

        2.      This Declaration is submitted in support of Modell’s motion for an Order: (1)

 dismissing the Complaint in its entirety pursuant to Fed. R. Civ. P. 23, or in the alternative,

 striking the class allegations pursuant to Fed. R. Civ. P. 12(f) and 23(d)(1)(D); (2) dismissing the

 claims for injunctive relief pursuant to Fed. R. Civ. P. 12(b)(6); (3) dismissing the Complaint for

 failure to satisfy the pleading requirements of Fed. R. Civ. P. 9(b); (4) dismissing the Complaint

 for lack of personal jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2); and (5) dismissing the

 Complaint pursuant to Fed. R. Civ. P. 12(b)(3), as venue is improper; or in the alternative,

 transferring venue to the United States District Court for the Southern District of New York

 pursuant to 28 U.S.C. § 1404 and the doctrine of forum non conveniens; or (6) requiring plaintiff

 to provide a more definite statement as to all causes of action against Modell’s pursuant to Fed.

 R. Civ. P. 12(e).
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        3.      True and accurate copies of the following exhibits are submitted in support of this

 motion:

                Exhibit A:     Plaintiff’s Summons and Complaint; and

                Exhibit B:     The Declaration of Mark Aarons.

        4.      For the reasons set forth in the accompanying Memorandum of Law, Modell’s

 motion should be granted in its entirety.



        I declare under penalty of perjury that the foregoing is true and correct.

 Dated: New York, New York
        February 29, 2016
                                               HAWORTH COLEMAN & GERSTMAN, LLC




                                               _________________________________
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